                   EXHIBIT E




Case 3:20-cv-00710-FDW-DSC Document 10-8 Filed 01/21/21 Page 1 of 3
Case 1:20-cv-22327-DPG Document 22 Entered on FLSD Docket 09/16/2020 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 20-cv-22327-GAYLES


   THERAGUN, INC.,

                  Plaintiff,

   v.

   GOLOVAN LTD., d/b/a GETKRAFT, an
   Israel limited company; DEZHOU CREATE
   FITNESS EQUIPMENT CO., LTD, a Chinese
   limited company; and DOES 1 through 10,
   inclusive,

               Defendants.
   _______________________________________/

        ORDER GRANTING MOTION FOR ELECTRONIC SERVICE OF PROCESS

         THIS CAUSE is before the Court on Plaintiff Theragun, Inc. (“Theragun”)’s Motion for

  Electronic Service of Process pursuant to Federal Rule of Civil Procedure 4(f)(3) (the “Motion”).

  [ECF No. 17]. The Court has carefully reviewed the Motion and the record and is otherwise fully

  advised. The Court finds that service on Defendant Dezhou Create Fitness Equipment, Co., Ltd.

  (“Dezhou”) by electronic means, including email and website submission, is reasonably calculated

  to apprise Dezhou of the pendency of this action and afford it an opportunity to present its

  objections. Service on Dezhou by electronic means does not violate the Hague Convention on the

  Service Abroad of Judicial and Extra-Judicial Documents in Civil and Commercial Matters. See

  Fed. R. Civ. P. 4(f)(3); see also Brookshire Bros. v. Chiquita Brands Int’l Inc., No. 05-CIV-21962,

  2007 WL 1577771, at *2 (S.D. Fla. May 31, 2007) (“[D]istrict courts have found broad discretion

  under Rule 4(f)(3) to authorize other methods of service that are consistent with due process and

  are not prohibited by international agreements.”) (citing Prewitt Enters., Inc. v. Org. of Petroleum



        Case 3:20-cv-00710-FDW-DSC Document 10-8 Filed 01/21/21 Page 2 of 3
Case 1:20-cv-22327-DPG Document 22 Entered on FLSD Docket 09/16/2020 Page 2 of 2




  Exporting Countries, 353 F.3d 916, 927 (11th Cir. 2003)). Further, this Court has authorized

  service of process through electronic means on individuals and entities situated in China under

  similar circumstances where the dispute concerns intellectual property. See, e.g., Louis Vuitton

  Melletier v. Individuals, Partnerships et al., No. 20-CIV-61122, 2020 WL 4501765 (S.D. Fla. June

  9, 2020); Whirlpool Corporation v. Individuals, Partnerships et al., No. 20-CIV-60626, 2020 WL

  4501788 (S.D. Fla. April 28, 2020); Taylor Made Golf Company, Inc. v. Individuals, Partnerships

  et al., No. 20-CIV-60468, 2020 WL 3305383 (S.D. Fla. April 13, 2020).

          Accordingly, it is ORDERED AND ADJUDGED as follows:

             1. Plaintiff’s Motion for Electronic Service of Process pursuant to Federal Rule of

                Civil Procedure 4(f)(3) [ECF No. 17] is GRANTED; and

             2. Plaintiff shall serve the Summons and Complaint upon Defendant Dezhou in this

                action via e-mail at "info@dzcreate.cn" and also via Dezhou's electronic,

                interactive Alibaba website.

          DONE AND ORDERED in Chambers at Miami, Florida, this 16th day of September,

  2020.




                                               ________________________________
                                               DARRIN P. GAYLES
                                               UNITED STATES DISTRICT JUDGE




                                                 2

       Case 3:20-cv-00710-FDW-DSC Document 10-8 Filed 01/21/21 Page 3 of 3
